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                   EXHIBIT A
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       On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                       the District of Columbia Bar does hereby certify that



                               Edward Gilman
    was duly qualified and admitted on October 11, 2019 as an attorney and counselor entitled to
     practice before this Court; and is, on the date indicated below, an Active member in good
                                         standing of this Bar.




                                                                           In Testimony Whereof,
                                                                       I have hereunto subscribed my
                                                                      name and affixed the seal of this
                                                                             Court at the City of
                                                                     Washington, D.C., on June 05, 2023.




                                                                           JULIO A. CASTILLO
                                                                            Clerk of the Court




                                                        Issued By:


                                                                        David Chu - Director, Membership
                                                                       District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
